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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                   ) CASE NO.: 1:18CR682
                                             )
           Plaintiff,                        ) JUDGE DAN AARON POLSTER
                                             )
      v.                                     )
                                             )
 TAMIKO PARKER,                              ) GOVERNMENT’S SENTENCING AND
                                             ) RESTITUTION MEMORANDUM
           Defendant.                        )
     Now comes the United States of America, by its counsel, Justin E. Herdman, United

States Attorney, through Brian M. McDonough and Suzana K. Koch, Assistant United States

Attorneys, and respectfully requests this Court to sentence Defendant Tamiko Parker to 33

months in prison, the maximum sentence within the Guidelines, and order her to pay

$203,087.61 in restitution for her embezzling monies from the Collinwood & Nottingham

Development Corp when she served as its executive director as detailed in this Sentencing and

Restitution Memorandum.

                                                    Respectfully submitted,

                                                    JUSTIN E. HERDMAN
                                                    United States Attorney

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                   SENTENCING AND RESTITUTION MEMORANDUM

I.     SUMMARY OF THE CASE

       On November 14, 2018, the Grand Jury returned an Indictment against Defendant

Tamiko Parker that charged her with one count of Theft Concerning Programs Receiving Federal

Funds, in violation of 18 U.S.C. § 666(a)(1)(A). (R. 4: Indictment). On August 5, 2019, Parker

entered a guilty plea to the Indictment without a plea agreement. (Minutes of Proceedings,

August 5, 2019).

       The facts underlying the charges and additional evidence developed through the

investigation, are as follows. From 2014 to 2016, Parker was employed as the executive director

of the Collinwood & Nottingham Villages Development Corporation (“CNVDC”). The CNVDC

was a non-profit 501(c)(3) tax-exempt organization incorporated in Ohio in 1982. One of

CNVDC’s purposes was to acquire, own, lease, and developed real property in Cleveland, Ohio.

The CNVDC was a government agency as defined by Title 18, United States Code Section

666(d)(2). In calendar years 2014, 2015, and 2016, the CNVDC received benefits in excess of

$10,000 under a Federal program involving a grant, contract, subsidy, loan, guarantee, insurance

or other form of Federal assistance.

       In her role as executive director, Parker had access to CNVDC’s bank accounts, credit

cards, debit cards, statements, and checks. Parker misused various CNVDC accounts through a

variety of schemes involving the following bank accounts: PNC x6451, Chase x6235, Chase

x0354; and credit card accounts: Chase x3512 and Home Depot x8034. Parker stole CNVDC’s

money for her personal benefit.

       As charged in the Indictment, from in or about September 2014, continuing through in or

about February 2016, Parker, being an agent of CNVDC, embezzled, stole, obtained by fraud,

and without authority, knowingly converted to the use of a person not the rightful owner and


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intentionally misapplied property worth at least $5,000 and owned by, under the care of, under

the custody of, under the control of CNVDC that is, cash, checks, credit cards, and debit cards

through various schemes. As a result of Parker’s schemes, CNVDC suffered a loss of

$203,087.61.

II.    SENTENCING GUIDELINES CALCULATIONS

       When fashioning an appropriate sentence for a defendant, a court must first consider the

applicable guidelines range under 18 U.S.C. § 3553(a)(4). United States v. Thompson, 515 F.3d

556, 560 (6th Cir. 2008). Although the sentencing guidelines are advisory, they are the “starting

point and the initial benchmark” for federal sentencing. Id. at 560-61. A court may find facts by

a preponderance of the evidence when calculating the appropriate guidelines range. United

States v. Gates, 461 F.3d 703, 707-08 (6th Cir. 2006). Once a court has determined the

appropriate sentencing range, it should then consider that range in light of the other relevant §

3553(a) factors. Thompson, 515 F.3d at 561.

       Parker pleaded guilty to one count of Theft Concerning Programs Receiving Federal

Funds, in violation of 18 U.S.C. § 666(a)(1)(A).

       A.      The Probation Office Calculation

       The Probation Office correctly calculated Parkers’ Guideline calculations as follows

using the United States Sentencing Guidelines (“USSG”) §2B1.1. (R. 29: Final PSR ¶¶ 25-34,

PageID 127-8).

 Count 1: 18 U.S.C. §666(a)(1)(A): Theft Concerning Programs Receiving Federal Funds
 Base offense level                                                 6 § 2B1.1(a)(2)
 More than $150,000 of loss                                       +10 § 2B1.1(b)(1)(F)
 Adjusted base offense level for misrepresentation on behalf of a  +2 § 2B1.1(b)(9)(A)
 government agency
 Abuse of position of trust or special skill                       +2 §3B1.3
 Total Offense Level before acceptance of responsibility           20
 Acceptance of responsibility                                      -2 § 3E1.1(a)



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 Acceptance of responsibility                                               -1 § 3E1.1(b)
 Final Offense Level                                                        17

       B.      The Court Should Overrule Parker’s Objections to the PSR

       Parker objected to the loss amount calculation and the two-level increase for

misrepresentation on behalf a government agency. (R. 29: Final PSR, PageID 139). The

Government will prove the loss amount at sentencing through witness testimony and exhibits of

financial documents.

       Parker’s objection to the USSG § 2B1.1(b)(9)(A) was her incorrect belief that the

enhancement was reserved for situations where one used the organization’s status to facilitate the

procurement of funds from the victim. (R. 29: Final PSR, PageID 139).

       The Sentencing Guidelines allow a district court to enhance a sentence by two levels

when a fraud “involved a misrepresentation that the defendant was acting on behalf of ... a

government agency.” U.S.S.G. § 2B1.1(b)(9)(A). The examples listed in the application notes

are obviously illustrative not exhaustive, and thus provide no mandate for limiting the scope of

the enhancement's actual language. United States v. Wiant, 314 F.3d 826, 828–29 (6th Cir.

2003). In United States v. Huntley, 961 F. Supp. 2d 409, 410 (E.D.N.Y. 2013), the court found

that U.S.S.G. § 2B1.1(b)(9)(A) applied to a defendant who embezzled state funds earmarked for

a non-profit organization under her control.

       Here, the evidence supports the enhancement’s application. Parker misrepresented to

tenants that she was collected rent in cash from tenants, when in fact, she diverted the funds to

herself. In using debit and credit cards, Parker misrepresented that the purchases were going to

the CVNDC, when in fact, they did not. Parker also misrepresented to banks that she was acting

on behalf of a government agency when she redeposited checks and wrote checks to herself.

Accordingly, the Court should overrule Parker’s objection.



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III.    SECTION 3553(a) FACTORS

        In this case, in light of the nature and circumstances of the offense, the history and

characteristics of the defendant, the need to reflect the seriousness of the offenses and provide

just punishment, and the need to afford adequate deterrence, the government respectfully

recommends that the maximum sentence within the Guidelines is sufficient but not greater than

necessary to comply with the purposes of 18 U.S.C. § 3553(a).

        The Sixth Circuit Court of Appeals requires that a district court provide a reasonable

explanation of its application of the sentencing factors set forth in Title 18, Section 3553 of the

United States Code in imposing sentence. In Blackwell, 459 F.3d at 773, the Sixth Circuit

announced:

        The job of the district court is to impose “‘a sentence sufficient, but not greater
        than necessary, to comply with the purposes' of section 3553(a).” In reaching a
        sentence that complies with the purposes of § 3553(a), the district court must
        consider the Sentencing Guidelines range and all relevant § 3553 factors. While a
        district court need not explicitly reference § 3553 or recite a list of factors, it must
        provide a reasoned explanation for its choice of sentence and its explanation must
        be sufficiently thorough to permit meaningful appellate review. . . . This Court
        will only uphold a sentence if it is reasonable. Reasonableness contains two
        facets: substantive and procedural. In reviewing for reasonableness, the Court
        employs a presumption for substantive reasonableness.

(Citations omitted.) Id. The Sixth Circuit has stated that, “while a district court need not engage

in a ‘ritualistic incantation’ of the § 3553(a) factors, its reasoning must be ‘sufficiently detailed

to reflect considerations listed in § 3553(a) and to allow for meaningful appellate review.’”

United States v. Tanner, 382 F. App’x. 421, 423 (6th Cir. 2010) (quoting United States v. Bolds,

511 F.3d 568, 581 (6th Cir. 2007) and United States v. Mayberry, 540 F.3d 506, 518 (6th Cir.

2008)). Therefore, a district court must impose a reasonable sentence while expressing enough

of its rationale to permit an appellate court to understand the basis for the sentence imposed.




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       A.      Nature and Circumstances of the Offense

       Parker was “the fox guarding the hen house.” Despite having an extensive and escalating

criminal history of prior convictions for passing bad checks, grand theft, forgery, aggravated

theft, and misuse of credit cards, she, as the executive director of the CNVDC, was in a position

of trust handling the non-profit’s finances. Parker exploited the CNVDC’s trust to manage its

financial affairs in order to fund her lifestyle. The evidence shows that she engaged in multiple

schemes to steal, embezzle, and convert CNVDC’s monies for her personal use. Knowing that

CNVDC was dedicated to the betterment of the community, when she stole its money,

demonstrates Parker’s intent to harm this victim.

         Furthermore, Parker’s knowledge of the CNVDC structure made her crimes even more

egregious. As executive director, there was no check and balance of financial accounts. As

such, Parker’s criminal conduct, which lasted over three years, was serious, both because of its

extended duration, and because of its nature, which involved exploitations of numerous bank,

credit card, debit card, and cash transactions, deceiving tenants, and the callous disregard or the

well-being of the CNVDC, all for her own financial gain. The criminal conduct was sufficiently

serious to warrant a maximum Guidelines sentence.

       B.      History and Characteristics of the Defendant

       Parker abused the trust placed in her by the CNVDC from 2014-2016 while serving as

executive director. Her criminal history showed a troubling pattern of fraud, theft, and financial

crimes on multiple occasions, dating back as early as to 1993, when she was 21. Parker’s

predation on financial crimes warrants a maximum sentence within the Guidelines range.




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       C.         Need of the Sentence to Reflect the Serious of the Offense, to Promote
                  Respect for the Law, and to Provide Just Punishment

       Imposing the maximum sentence within the range suggested by the Guidelines would

reflect the seriousness of Parker’s offenses, promote respect for the law, and provide just

punishment. As demonstrated above, Parker’s conduct was egregious and her crimes were

serious. The substantial harm caused to the CNVDC by Parker warrants substantial punishment.

Only a significant sentence will promote proper respect for the law and provide just punishment

for her crimes.

       D.         The Need of the Sentence Imposed to Afford Adequate Deterrence and
                  Protect the Public from Further Crimes of the Defendant

       Imposing the maximum sentence within the Guidelines range would also deter others

from exploiting their clients and using client money to enrich themselves. United States v.

Flores-Machicote, 706 F.3d 16, 22 (1st Cir. 2013) (“Deterrence is widely recognized as an

important factor in the sentencing calculus.”); United States v. Miller, 484 F.3d 964, 967-68 (8th

Cir. 2007) (“general deterrence . . . is one of the key purposes of sentencing . . . .”); United States

v. Jackson, 835 F.2d 1195, 1199 (7th Cir. 1987) (Posner, J., concurring) (“deterrence is the surest

ground for punishment . . . since incapacitation may, by removing one offender from the pool of

offenders, simply make a career in crime more attractive to someone else, who is balanced on the

razor’s edge between criminal and legitimate activity and who now faces reduced competition in

the crime ‘market.’”). As courts have noted, deterrence is particularly important in “white-collar

crimes, because they are often perceived as carrying substantially lesser punishment than other

comparable offenses.” United States v. Panyard, No. 07-20037-2, 2009 WL 1099257, at *12

(E.D. Mich. April 23, 2009).

       Parker’s offenses were not isolated incidents. Her scheme was rational, calculated and

executed over a span of three years. The Sixth Circuit has acknowledged, “. . . economic and


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fraud-based crimes are more rational, cool, and calculated than sudden crimes of passion or

opportunity, these crimes are prime candidates for general deterrence.” United States v. Peppel,

707 F.3d 627, 637 (6th Cir. 2013) (quoting United States v. Martin, 455 F.3d 1227, 1240 (11th

Cir. 2006)). A sentence of 33 months for Count 1—the maximum sentence within the

Guidelines range would deter others in positions of trust from preying on the CNVDC.




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IV.    RESTITUTION ANALYSIS

       A.      Restitution is mandatory and shall be ordered.

       Restitution orders are authorized by statute, 18 U.S.C. §§ 3663, 3663A, and 3664, and are

distinct and separate from the United States Sentencing Guidelines. Restitution constitutes

punishment. United States v. Schulte, 264 F.3d 656 (6th Cir. 2001); see also United States v.

Bearden, 274 F.3d 1031, 1041 (6th Cir. 2001) (stating restitution is “punitive rather than

compensatory in nature”). “Although the guidelines mandate imposition of restitution where

allowable under the statutes, the restitution statutes function independently from the guidelines

and do not rely on the guidelines for their validity.” United States v. Sosebee, 419 F.3d 451, 462

(6th Cir. 2005). “Restitution under the MVRA is a criminal penalty and a component of the

defendant’s sentence.” United States v. Adams, 363 F.3d 363 (5th Cir. 2004) (quoting United

States v. Chaney, 964 F.2d 437, 451 (5th. Cir. 1992).

       The court determines the amount of restitution. The MVRA specifically states that the

amount of restitution should equal the “amount of each victim’s losses as determined by the

court and without consideration of the economic circumstances of the Defendant.” 18 U.S.C.

§ 3664(f)(1)(A) (when a court orders restitution, the amount of restitution should equal the

“amount of each victim’s losses as determined by the court.” Sosebee, 419 F.3d at 462 (quoting

18 U.S.C. § 3664(f)(1)(A) (emphasis in original)).

       When sentencing a Defendant convicted of an offense against property under Title 18 of

the United States Code, including any offense committed by fraud or deceit, the Mandatory

Victims Restitution Act (“MVRA”) requires the court to order that the Defendant make

restitution to the victim of that offense. 18 U.S.C. §§ 3663A(a)(1); 3663A(c)(1)(A)(ii). The




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MVRA requires those convicted of offenses against property under Title 18 to pay restitution for

victims’ losses. United States v. Elson, 577 F.3d 713, 721 (6th Cir. 2009).

       The MVRA defines “victim” as “a person directly and proximately harmed as a result of

the commission of an offense for which restitution may be ordered.” 18 U.S.C. § 3663A(a)(2).

Under the MVRA, a victim is any person harmed “as a result of the commission of an offense…

including, in the case of an offense that involves as an element a scheme, conspiracy, or pattern

of criminal activity, any person directly harmed by the Defendant’s criminal conduct in the

course of the scheme, conspiracy, or pattern.” United States v. Elson, 577 F.3d 713, 730 (6th

Cir. 2009) (quoting 18 U.S.C. § 3663A(a)(2)). The MVRA “does not require a victim to have a

subjective belief that he or she has been harmed. Rather, it is left to the court to make that

determination.” United States v. Teadt, 2016 WL 3455353 (6th Cir. Jun 24, 2016).

       B.      Restitution should be made payable by Defendant Tamiko Parker, to the
               Collinwood & Nottingham Villages Development Corporation, in the amount
               of $203,087.61.

       Below is a chart that summarized the amounts of CNVDC funds that Parker converted to

her personal use:

 Financial Institution          Date                  Category of Loss          Restitution Amount

 CNVDC PNC               October 2015 –        Double deposits                             $30,967.34
 Account x6451           March 2016                20 redeposits

 CNVDC PNC               February 2015 –       Cash withdrawals                            $21,968.44
 Account x6451           July 2015                 Six times

 CNVDC PNC               December 2014 –       Checks to self                               $8,500.00
 Account x6451           September 2015            Two checks

 CNVDC PNC               October 2015 –        Checks to Lamont Johnson                    $10,316.00
 Account x6451           March 2016                Multiple

 CNVDC Chase             April 28, 2015        Money Order to self                          $5,030.00
 Account x6235                                    One time


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 Financial Institution           Date                 Category of Loss          Restitution Amount

 CNVDC Chase             May 2015 –            Cash withdrawals                            $27,928.08
 Account x0354           July 2015                 Multiple

 CNVDC Chase             October 2015 –        Checks to self                              $10,800.00
 Account x0354           March 2016                Multiple

 CNVDC Chase             March 2015 –          Debit card/ATM                              $24,939.35
 Account x0354           June 2015                 Victoria’s Secret,
                                                   Harley Davidson,
                                                   Horseshoe Casino,
                                                   Atlantic City, and
                                                   Las Vegas
 CNVDC Chase             October 2015 –        Checks to Lamont Johnson                    $25,295.00
 Account x0354           March 2016                Multiple

 CNVDC Chase             September 2014 –      Credit card purchases                        $5,666.05
 Credit x6235            July 2015                 Sephora,
                                                   TJ Maxx, and
                                                   Pier One

 Home Depot Credit       February 2015 –       Credit card purchases                        $8,062.35
 x8034                   January 2016              Home appliances

 Cash rent               January 2015 –        Missing rent                                $23,615.00
                         October 2015              Multiple

 Total                                                                                   $203,087.61

         C.     Restitution Order Terms Requested

         The United States requests that the Court establish the following conditions of restitution

payment in accordance with the Court’s authority under 18 U.S.C. §§ 3572 and 3664(f), which

should apply until such time as Parker has satisfied the financial obligations to be imposed by

the judgment. Payment of restitution is due immediately. Any restitution amount that remains

unpaid when Parker’s supervision commences is to be paid on a monthly basis at a rate of at

least 25% of her gross earnings, to be changed during supervision, if needed, based on each her

changed circumstances, pursuant to 18 U.S.C. § 3572(d)(3). If Parker receives an inheritance,


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any settlements (including divorce settlement and personal injury settlement), gifts, tax refunds,

bonuses, lawsuit awards, and any other receipt of money (to include, but not be limited to,

gambling proceeds, lottery winnings, and money found or discovered) she must, within 5 days

of receipt, apply 100% of the value of such resources to any restitution still owed.

V.     CONCLUSION

       For the foregoing reasons, as well as those to be articulated at the sentencing and loss

hearing, the United States respectfully requests that this Court sentence Parker to 33 months in

prison months on Count 1 and that the Court order immediate payment of restitution by Parker.

Restitution payments should be made payable and shall be sent to: the Clerk of Court at U.S.

Court House, 801 West Superior Avenue, Suite 1-127, Cleveland, Ohio 44113.




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